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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 PINE BLUFF DIVISION

AUSTIN JAY BURNS, ADC #551922                                                          PLAINTIFF

v.                                     NO.    5:17CV00223 JLH

KEDRICK R. AVERY                                                                    DEFENDANT

                                              ORDER

       MARIETTA ALPHIN and SCOTT LAWSON with the Law Offices of Mark Hampton,

are hereby authorized to bring a cell phone, laptop computer, or personal digital assistant into the

courthouse in Little Rock, Arkansas, on Tuesday, September 3, 2019, and Monday, September 9,

2019, until conclusion of trial, subject to the following rules:

       (a)     The devices mentioned above may not be used to record, photograph, or film

               anyone or anything inside the courthouse.

       (b)     Cell phones must be turned off and put away when in the courtroom.

       (c)     Wireless internet components of electronic devices must be deactivated when in

               district courtrooms.

       (d)     Before persons with electronic devices are granted entry into the courthouse, all

               devices must be examined by the United States Marshals Service or Court Security

               Personnel. This examination includes, but is not limited to placing the device

               through electronic screening machines and requiring the person possessing the

               device to turn the power to the device off and on.

       (e)     The United States Marshals Service may further restrict electronic devices from

               entering the building should a threat assessment so dictate.
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       A violation of paragraph (a), (b), or (c) may result in seizure of the electronic device,

withdrawal of the privilege to bring an electronic device into the courthouse, or other sanctions.

A violation of the prohibition on recording, photographing, or filming anyone or anything inside

the courthouse may be punished as contempt of court.

       SIGNED this 30th day of August, 2019.




                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE




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